DocuSign Envelope ID: C1CAAGES S860-4DBAAFAVOPOM4NBEEEDOcument 1 Filed 03/22/22 Page 1 of 7

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

1.CAPTION OF ACTION

 

ZHANE Y. STRONG
’ CIVIL RIGHTS COMPLAINT

Plaintiff,
-against-

MUNICIPAL CITY OF LOCKPORT;

MUNICIPAL COUNTY OF NIAGARA;

J. HAYES, Social Services Worker;

A. Irons-Rindfleischm, Niagara County Sheriff

 

Investigator;

BRANDY DENOTE, Social Service Worker;

SUSAN B. BJORNHOLM, Assistant District Attorney; COMPAINT DOCKET.
WILLIAM WATSON, Lockport City Court Judge, NO,

BRIAN D. SEAMAN, Niagara County District Attorney;

22 CV 33g %S

Defendants;

 

2.STATEMENT OF JURISDICTION, VENUE AND NATURE OF SUIT

 

A. BASIS OF JURISDICTION IN FEDERAL COURT: 42 USC $1982 ,1981(a),1986;
28 USC 1331,1343(3) & (4), pendent jurisdiction over state law claims
pursuant to United Mine Workers v Gibbs,383 US 715,726 -727 (1966)
42 USC §1985(3)

B. Basis of jurisdiction in Western District: Material events occurred
in Western District of New York and parties reside therein.

C. Nature of suit: Civil rights violations, defamation of character,
deprivation of federally protected rights, conspiracy.

3. PARTIES TO THIS ACTION

 

PLAINTIFF'S INFORMATION
Name of Plaintiff: ZHANE Y. STRONG
Present Address: 1357 SOUTH AVENUE, NIAGARA FALLS, NEW YORK 14301

DEFENDANTS! INFORMATION:
NAME OF DEFENDANT: MUNICIPAL CITY OF LOCKPORT, NEW YORK
Present Address: 1 LOCKS PLAZA, LOCKPORT, NEW YORK 14094

NAME. OF SECOND DEFENDANT: MUNICIPAL COUNTY OF NIAGARA
Present Address: COUNTY ATTORNEY OFFICE,175 HAWLEY STREET, LOCKPORT,
NEW YORK 14094

Name of THIRD DEFENDANT: J. HAYES, SOCIAL WORKER
Present Address: 20 EAST AVENUE, LOCKPORT, NEW YORK 14094

NAME OF FOURTH DEFENDANT: A. Irons-Rindfleischm, Niagara County Sheriff
Investigator
DacuSign Envelope ID: C1CAAGE 5 860-4DPA PY IQOPBS4RBEFE Document 1 Filed 03/22/22 Page 2 of 7

Present Address: NIAGARA COUNTY SHERIFF'S DEPARTMENT, 5526 NIAGARA
STREET EXT., LOCKPORT, NEW YORK 14094

NAME OF FIFTH DEFENDANT: BRANDY DENOTE, Social Service Worker
Present Address: 301 TENTH STREET, NIAGARA FALLS, NEW YORK 14303

NAME OF SIXTH DEFENDANT: SUSAN B. BJORNHOLM, ASSISTANT DISTRICT ATTORNEY
Present Address: DISTRICT ATTORNEY, NIAGARA COUNTY, 175 HAWLEY
STREET, LOCKPORT, NEW YORK 14094

NAME OF SEVENTH DEFENDANT: WILLIAM WATSON, LOCKPORT CITY COURT JUDGE
Present Address: 1 LOCKS PLAZA, LOCKPORT, NEW YORK 14094

NAME OF EIGHTH DEFENDANT: BRIAN D. SEAMAN, Niagara County District Attorney
Present Address: Courthouse,175 Hawley Street, Lockport, New York 14094

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURTS

 

PREVIOUS LAWSUITS: NONE
5. STATEMENT OF CLAIM

FIRST CLAIM: On March 12, 2018, I was 18 years old ee and
was enrolled in Niagara Falls High School as a student. also resided

with my father, PAUL STRONG.

 

According to information and belief, my enrollment in High School made
me eligible for SNAP (SUPPLEMENTAL NUTRITION ASSISTANCE) benefits. This
is well known by Department of Social Services employees and is stated
in regulations such as 18 NYCRR 387.1

Also, as a Student I was eligible for SNAP benefits for being in a state/
federally funded work-study program; or worked for an average of 20 hours
per week and was paid for such work.

I was employed by Tops Markets from @mampaig to aay and received
an average of 20 hours pay per week which, again, made me eligible for
SNAP benefits.

Yet, despite my clear eligibility for SNAP in various ways, the defendants
acted together to falsify claims that including me as SNAP eligibility

by my father was fraud and criminal thereby creating a pall of suspicion
that I was involved in criminal activity when in fact no crime or fraud
was committed because I was in fact eligible to receive SNAP benefits.

I have no criminal record and the fraudulent use of my name to bring
criminal charges against my father who acted legally in all respects
defames my character and damages my reputation. I am currently enrolled
in a college and intend to seek a career in the field of criminal justice.
DocuSign Envelope ID: C1CAAGFASS6D-7RARFOOPBS44DR5EEDOCuMent 1 Filed 03/22/22 Page 3 of 7

Notably, under Title 18 NYCRR 387.14 "Determination of Supplemental
Nutrition Assistance Program (SNAP) eligibility" it states that (a) A
household's eligibility is determined by considering the household's
circumstances for the entire month during which the application is made”.

The regulation goes on to state the following:

(5) Categorically eligibility)
(1) Categorically eligible households are exempted
from the gross and net income limits as defined in
section 387.10 of this part. Categorically eligible
households are presumed, without further
investigation or limitations or verification, to meet
the resource limits as set forth in section 389.9 of
this Part as a result of all members of the household
being eligible for family assistance, nonemergency
safety net assistance and/or SSI.

My family included at the relevant time a total of five siblings including
my self all of whom were eligible for the SNAP family assistance at the
relevant time of 3/12/2018 to September 2018.

The defendants all participated in filing felony and misdemeanor complaint.;
against my father PAUL STRONG who committed no crime at all. The defendants
relied on fabricated, falsified, blatantly untrue claims that because my
name was included in the SNAP application a crime was being committed.

Further, it has been clearly established law for more than thirty-five
years since 1984 that where a prosecution is based on known false evidence
such prosecution in void and cannot stand. See, e.g., People v Pelchat,62
NY¥2d 97(1984) (reversing and dismissing a criminal indictment where the
prosecutor presented false evidence to the Grand Jury and holding that

the resultant indictment was rendered fatally defective and that the

error was non-waivable mandating dismiss of the indictment even though

no prior motion was made and the issue was raised for the first time on
direct appeal in that case)

The filing of false charges based solely on the fraudulent, malicious

and blatantly untrue claim that I was ineligible for the SNAP benefits makes
void the criminal prosecution similar to the case of People v Pelchat,
supra. Such clearly established law deprives the defendants of any of

the defenses of absolute and qualified immunity and other defenses.

This claim is based on the 14th Amendment's Due Process and Equal
Protection Clauses and is made against all named defendants who all
acted under color of state or local law pursuant to 42 USC §1983.

The defendants all acted in concert with each other by making sworn
affidavits, felony complaints, conducting criminal prosecutions and
related conduct fraudulently, intentionally and/or recklessly
claiming I was not eligible for the SNAP benefits and implicating my
name in a void and fraudulent criminal matter and taking no action to
prevent the wrongs being perpetrated.
DocuSign Envelope ID: C1CAAGEQSS6D-4ERACRFMOP AB44DREEEDOcument 1 Filed 03/22/22 Page 4 of 7

SECOND CLAIM; This claim adopts and incorporates factual allegations

set forth under the "FIRST CLAIM" as though fully set forth here and
asserts that defendants' actions were knowingly taken against me and

my family who are all Black African American Citizens. The acts of
fraud, lies and deception fairly support a claim of racial discrimination
by the actors. To the extent that any defendant might claim they did

not commit the acts involved, that is countered by assertions that all
defendants knew of the fraud and/or recklessly disregarded the fraud
thereby making them liable under state law tort principles. See, e.g.,
Brown v State of New York,89 NY2d 172,652 NYS2d 223 (1996) (holding that
the court has jurisdiction pursuant to New York State Constitution,
Art.1, §§ 11,12 to imply a remedy from constitutional provisions or
legislation and Section 874A of the Restatement (Second) of Torts)

Federal courts have jurisdiction over state law claims pursuant to
United Mine Workers v Gibbs,383 US 715,726-727 (1956)

Accordingly, this Second Claim asserts a state law Tort/Negligence Claim
against the municipal defendants based on actions of their municipal
policymaking officials who may be held liable for a single act done

by a policymaker. See Pembaur v City of Cincinnati, 472 US 1986 (which
establishes that municipalities can be held liable even for a single
decision that is improperly made by municipal policymakers)

THIRD CLAIM: This claim adopts and incorporates the factual allegations
set forth under the "FIRST CLAIM" as though full set forth here and
asserts that defendants' actions indicate a class-based, invidiously
discriminatory animus against Black African American families which

may be inferred from the fraud, deception, lies and recklessness which
are indicated in this case.

This claim is brought pursuant to 42 USC §1985(3) as a conspiracy to
deprive me of Equal Protection of the Laws in violation of the Equal
Protection Clause of the 14th Amendment based on a class-based, invidious
discriminatory animus.

FOURTH CLAIM: This claim adopts the factual allegations set forth under
the “FIRST CLAIM" and incorporates them as though full set forth here
and asserts that defendants had a duty to prevent a known section 1985(3)
conspiracy that is involved herein (SEE CLAIM THREE ABOVE) and defendants
neglected and failed to prevent such conspiracy and instead assisted in
perpetuating such conspiracy by, inter balia, filing fraudulent felony
and misdemeanor complaints (WHICH I POSSESS AND WILL PROVIDE TO THIS
COURT) and conducting or assisting in conducted criminal prosecutions
against my father PAUL STRONG using my name and fabrications that I was
not eligible for SNAP benefits.
DocuSign Envelope ID: C1CAAGEQES6D- BARE MOP OB440RSEEDOCument 1 Filed 03/22/22 Page 5 of 7

FIFTH CLAIM: This claim adopts and incorporates the factual allegations
set forth under the "FIRST CLAIM" as though fully set forth here and
asserts that defendants acts were fairly inferable racial acts against
me and my family who are Black African American Citizens. All persons
within the jurisdiction of the United States shall have the same right
in every State and Territory...and to the full and equal benefit of all
laws...as is enjoyed by white persons and shall be subject to like
punishments...and no other". 42 USC §1981 (a)

The rights protected by this section are protected against impairment by
nongovernmental discrimination and impairment under color of State law.
Sea 42 USC §1981(c).

Accordingly, this claim is based on 42 USC §1981 (a), (c).

SIXTH CLAIM: This claim adopts and incorporates the factual allegations
of the "FIRST CLAIM" and asserts a claim "MALICIOUS PROSECUTION" against
the defendants who (a) fraudulently included my name as ineligible for
SNAP benefits as the sole basis for a criminal prosecution; (b) there
was a lack of reasonable and probable cause for the prosecution; (c)

the prosecution ended in my favor; (da) the defendants acted maliciously
with improbable motive and not to further the ends of justice. No charges
were sustained and no judgment was obtained against me thus indicating
my innocence. See Lanning v City of Glen Falls, No. 17-970(2d Cir.2013);
908 F.2d 19(there has been (1) initiation of a criminal prosecution; (2)
without probable cause, (3) malice, (4) termination of the prosecution

in my favor)

SEVENTH CLAIM: This claim asserts DEFAMATION OF CHARACTER as a State
Law Tort claim. See Brown v State of New York, supra.

6.SUMMARY OF RELIEF SOUGHT

 

AD DAMNUM CLAUSE: Plaintiff requests the following relief: 1) compensatory
damages of two hundred fifty thousand dollars on each cause of action to
be assessed jointly and severally against the defendants in their individual
and/or official capacities to be assessed in the same amount as punitive
damages jointly and severally on each count/cause of action; 2) order
Granting pendent jurisdiction over state law claims; (3) an order granting

such further relief as may be deemed just and equitable; 4) an order

directing no retaliation against me or family members for bringing this
lawsuit; 5) an order directing the U.S. Marshals to serve my complaint

on each named defendant; 6) an order granting a jury trial on the claims
herein: 6) an order construing my complaint to give the strongest arguments
suggested as provided in Second Circuit rulings.

 

DocuSigned by:

BRAWE STRONG

March 16, 2022 A24EE
DT ees ZHANE Y, STRONG (PRO SE)

1357 South Avenue
Niagara Falls, New York 14301

 
Case 1:22-cv-00238-JLS Document1 Filed 03/22/22 Page 6 of 7

VERIFICATION
State of New York)
County of Niagara) SS:
ZHANE Y. STRONG, being duly sworn, depnoses and says that I am
the Plaintiff in the within matter and have read and know the contents
of the complaint herein; that such contents are true to the best of
my knowledge, except as to matters alleged upon information and

belief, and as to those matters I believe them to be true.

Dated: March 12022

SWORN TO BEFORE ME THIS Use Hae

A 1 | EY. STRONG
\ lo? pay oF Mice , 2022 13: 7 SOUTH AVENUE
RK

NIAGARA FALLS, NEW
14301

we a gag gene PENS my

oo Cc ‘ _
NOTARY PUBLIC

 

 

LAKEA A PERRY
NOTARY PUBLIC, STATE OF NEW YORK
Registration No, 01PE6429192
Qualified in Niagara County
My Commission Expires Feb. 07, 2026

 

 

 
JS 44 (Rev. 08/18)

The JS 44 civil cover sheet and the information contained herein neither replace nor supe feaneat the filing and service of pleadin
provided by local rules of court. This form, approved by the Judicial Conference of the i

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff

N aay.

(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

(Yo Se

DEFENDANTS

NOTE:

Attorneys (If Known)

 

Case 1:22-Cv-00238 dads DOG ET GH geO3/22/22 Page 7 of 7

BoP phe

nited States in September 1974, is required for the use of th

County of Residence of First Listed Defendant

r sired 4 1B, ice tas
ec

lerk of Court for the

/ \, jana a
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

196 Franchise

I REAL PROPERTY _

O 210 Land Condemnation

O 220 Foreclosure

O 230 Rent Lease & Ejectment
0 240 Torts to Land

O 245 Tort Product Liability
© 290 All Other Real Property

 

Injury
© 362 Personal Injury -
Medical Malpractice

 

 

 

O 385 Property Damage
Product Liability

 

CIVIL RIGHTS
40 Other Civil Rights
0 441 Voting
0 442 Employment
© 443 Housing/
Accommodations
© 445 Amer. w/Disabilities -
Employment
G 446 Amer. w/Disabilities -

PRISONER PETITIONS

Habeas Corpus:

O 463 Alien Detainee

© 510 Motions to Vacate

Sentence

© 530 General

0 535 Death Penalty
Other:

O 540 Mandamus & Other

 

 

O 740 Railway Labor Act

© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

O 791 Employee Retirement
Income Security Act

IMMIGRATION
0 462 Naturalization Application
6 465 Other Immigration

© 865 RSI (405(g))

 

FEDERAL TAX SUITS ~
O 870 Taxes (U.S. Plaintiff
or Defendant)
6 871 IRS—Third Party
26 USC 7609

 

 

Exchange

6 890 Other Statutory Actions

O 891 Agricultural Acts

O 893 Environmental Matters

0 895 Freedom of Information
Act

O 896 Arbitration

6 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

O11. U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 V1 Incorporated or Principal Place o4 oO4
of Business In This State
0 2. U.S. Government 0 4 Diversity Citizen of Another State OG 2 © 2 Incorporated and Principal Place o5 o5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O03 © 3 Foreign Nation o6 oO86
Foreign Country
IV. NATURE OF SUIT (Ptace an "x" in One Box Only) _ Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALIY. [_BANKRUPICY _|__OT HER STA TUTES]
4 110 Insurance PERSONAL INJURY PERSONAL INJURY |0 625 Dmg Related Seizure 6 422 Appeal 28 USC 158 O 375 False Claims Act
3 120 Marine 6 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | © 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act 6 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical R 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OF 820 Copyrights O 430 Banks and Banking
O 151 Medicare Act 6 330 Federal Employers’ Product Liability © 830 Patent © 450 Commerce
© 152 Recovery of Defaulted Liability 368 Asbestos Personal 0 835 Patent - Abbreviated O 460 Deportation
Student Loans & 340 Marine Injury Product New Drug Application |O 470 Racketeer Influenced and
(Excludes Veterans) 5 345 Marine Product Liability O 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability . PERSONAL PROPERTY : LABOR ; J © 480 Consumer Credit
of Veteran's Benefits 6 350 Motor Vehicle 370 Other Fraud 0 710 Fair Labor Standards © 861 HIA (1395ff) O 485 Telephone Consumer
© 160 Stockholders’ Suits 6 355 Motor Vehicle OC 371 Truth in Lending Act © 862 Black Lung (923) Protection Act
6 190 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management 0 863 DIWC/DIWW (405(g)) |O 490 Cable/Sat TV
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSIDTitle XVI OG 850 Securities/Commodities/
ao

 

Other 0 550 Civil Rights Actions
6 448 Education O 555 Prison Condition
0 560 Civil Detainee -

Conditions of

Confinement
VY. ORIGIN (Place an "X" in One Box Only)
O11 Original 2 Removed from O 3  Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Miultidistrict O 8 Multidistrict

Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN

COMPLAINT:

 

O CHECK IF THIS

Cite the U.S. Civil ye

USC itu

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

DATE 2- Q2~ 22.

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

JUDGE

AR USc 33

Brief description of cause: 49 USC (F ¢2 2S usc

DEMAND $

under which you are filing (Do not cite jurisdictional statutes unless diversity):

(Cia Ad WS, 726-727 12 4S Ges

CHECK YES only if demanded in complaint:

1,75. mill (ON JURY DEMAND:

DOCKET NUMBER

 

SIGNATURE OF ATTORNE CORD (p)
“hank ae 6 Jc
~~

APPLYING IFP

JUDGE

@ Yes ONo

MAG. JUDGE
